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September 3, 2024

Hon. Ona T. Wang
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312

cc: All Counsel of Record Line (via ECF)

Re:     New York Times Company v. Microsoft Corp., et al., Case No. 1:23-cv-11195-SHS-OTW

Dear Judge Wang:

        Pursuant to Sections I(b) and II(b) of Your Honor’s Individual Practices, Defendant
OpenAI respectfully requests a pre-motion conference to address The New York Times’s refusal
to produce highly relevant discovery regarding its own adoption of, reliance on, and support of the
very technology the Times claims to be illegal in this lawsuit: generative artificial intelligence.1

        Evidence regarding the Times’s creation, use, and positions on generative AI generally is
directly relevant to a number of issues in this case including, most prominently, OpenAI’s fair use
defense. Whether a use is fair under Section 107 of the Copyright Act turns, in part, on “the public
benefits the copying will likely produce.” Google LLC v. Oracle Am., Inc., 593 U.S. 1, 35 (2021);
see also Sega Enterprises Ltd. v. Accolade, Inc., 977 F.2d 1510, 1523 (9th Cir. 1992) (fair use
analysis asks whether use “serves a public interest”). It is therefore not only relevant that the
technology OpenAI introduced to the world “serves [the] public interest” generally, see Accolade,
977 F.2d at 1523, it is also relevant that the technology yields transformative and productive
benefits for the enterprise of journalism specifically, see Andy Warhol Found. for the Visual Arts,
Inc. v. Goldsmith, 598 U.S. 508, 528 (2023) (use more likely to be fair if it has “further purpose or
different character” than the allegedly copied work).

           The Times will no doubt deny in this litigation the existence of such benefits—or at least
minimize them. In fact, the Times has already done so by claiming that “GenAI” technology as a
whole “[t]hreaten[s] [h]igh-[q]uality [j]ournalism.” Dkt. 170 at 14. Outside of court, however,
the Times has told a different story. Earlier this year, it hired a team to “leverag[e] generative [AI]
. . . for the benefit of [its] journalists.”2 It also disclosed an intention to provide its journalists with
“certain gen-A.I. tools”—without disclosing what tools it would provide or whether it planned to
develop them in-house.3 The Times, in other words, has and will continue to strenuously deny the

1
 The parties conferred in good faith regarding the disputes addressed herein by telephone conference on
May 14 and July 31, as well as by written correspondence both before and after those conferences. The
parties’ conferral efforts were unsuccessful. See Ex. E at 1, 5–6; Ex. F at 1.
2
  N.Y. Times, Introducing the A.I. Initiatives Team (May 9, 2024), https://www.nytco.com/press/
introducing-the-a-i-initiatives-team/.
3
  Id.; see also Sara Fischer, Exclusive: NYT Plans to Debut New Generative AI Ad Tool Late This Year
(Feb. 20, 2024), https://www.axios.com/2024/02/20/new-york-times-ai-ad-tool.

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public benefits of this technology in court—while simultaneously engaging in efforts to implement
the very same technology in its newsroom and business operations.

        Evidence of the Times’s efforts to create, deploy, or support the use of generative AI in its
own newsroom and business operations is relevant not only to fair use, but also to the Times’s own
claim that the mere existence of this technology is a threat to its business model and the enterprise
of journalism. That evidence is also relevant to the Times’s assertion that it suffers “substantial
harm” as a result of the deployment of this technology, id. ¶ 154—and, in turn, its claim for
“billions of dollars in statutory and actual damages,” id. ¶ 9. For these reasons, OpenAI
propounded discovery requests about “Generative AI”—defined to include both OpenAI’s
services and other tools that rely on similar technology.4 OpenAI sought three categories of
discovery about generative AI, regarding: (1) the Times’s use of generative AI (RFPs 44, 45, 46,
49); (2) the Times’s training of its own generative AI tools (RFPs 50, 51); and (3) the Times’s
positions regarding generative AI (RFPs 4–6, 16, 24). See Ex. A at 7–8, 9, 11, 14–16.

        When the Times made an analogous request for documents “concerning the impact of AI
Models on Journalism . . . or any Generative AI Products . . . as a source of Journalism, substitute
for Journalism, or product in competition with Journalism (including The Times’s Journalism)”—
OpenAI did not attempt to limit this to just the Times’s journalism. See Ex. B at 7; Ex. C at 3.

        Yet, the Times refused to produce any discovery relating to any tools other than those
created by OpenAI on relevance grounds. See Ex. D at 3 (Times objection to the definition
“Generative AI” and limiting responses to only OpenAI services). But the relevance of this
evidence does not depend on whether the tools in question were built by OpenAI, the Times itself,
or another company. It is relevant because it shows that the Times has acknowledged that the
technology OpenAI pioneered and introduced to the world in late 2022 yields vast benefits for the
public, for journalists, and for the Times itself. That, in turn, directly supports OpenAI’s fair use
defense and undercuts the Times’s claim to have suffered a grave injury as a result of OpenAI’s
innovations. The Times’s refusal to produce this discovery on relevance grounds is thus
irreconcilable with Rule 26, which permits discovery into “any nonprivileged matter that is
relevant to any party’s claim or defense and proportional to the needs of the case.” Fed. R. Civ.
P. 26(b)(1) (emphasis added); see also Ball v. Metro-N. Commuter R.R., No. 21-cv-6159, 2024
WL 1118783, at *2 (S.D.N.Y. Mar. 13, 2024) (“Relevance is construed broadly to encompass any
matter that bears on, or that reasonably could lead to other matter that could bear on, any party’s
claim or defense.” (cleaned up)).

       The Times resists compliance with three categories of requests, all of which seek highly
relevant evidence.

        The Times’s Use of Generative AI (RFPs 44, 45, 46, 49). The Times has acknowledged
the relevance of its own use of generative AI by agreeing to produce discovery relating to its use
of OpenAI’s services. But, as noted above, the Times has refused to produce similar evidence
regarding its use of generative AI services created by other companies. As discussed above, there

4
 Ex. A at 2–3 (defining “Generative AI” to include “models, algorithms, or other systems that are trained
using data to generate new content (including text, images, or other media), such as ChatGPT, Gemini,
LLaMA, or Claude”).

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is no basis for the Times to unduly narrow the scope of discoverable evidence in this manner. If
the Times is using technology similar to OpenAI’s, even if offered by another company, that would
undermine the Times’s assertion that tools like ChatGPT threaten journalism, just as evidence
about the Times’s use of ChatGPT would. Accordingly, the Times must produce that evidence.

         The Times’s Creation of its Own Generative AI (RFPs 50, 51). The Times has already
suggested publicly that it has several species of generative AI tools in development, both for use
in its newsroom and for use in its business operations.5 These reports suggest that the Times is in
the process of leveraging the very technology it challenges in this lawsuit. That alone establishes
that these efforts are highly relevant to OpenAI’s defense, including its rebuttal of the Times’s
representation that generative AI “[t]hreaten[s] [h]igh-[q]uality [j]ournalism.” Dkt. 170 at 14.
Beyond that, OpenAI is entitled to know (1) the extent to which the Times has leveraged
unlicensed data to create these tools (or pre-existing models trained on the same); (2) the extent to
which the Times has admitted internally that there is no “workable market” for licensing the data
needed to create an effective language model, see Am. Geophysical Union v. Texaco Inc., 60 F.3d
913, 930 (2d Cir. 1994) (analyzing fourth fair use factor), and (3) the extent to which the Times
has acknowledged that this technology could enhance the “traditional business models that
supported quality journalism,” Dkt. 170 ¶ 47. All of this evidence is directly relevant both to
OpenAI’s fair use defense and to the Times’s damages claims. The Times must produce it.

        The Times’s Positions Regarding Generative AI (RFPs 4–6, 16, 24). The Times’s
positions expressed outside of litigation are relevant for similar reasons, as they have the potential
to impeach the Times’s assertions made to support its lawsuit. See, e.g., Judd v. Take-Two
Interactive Software, Inc., No. 07-cv-7932, 2009 WL 361958, at *1 (S.D.N.Y. Feb. 4, 2009)
(ordering discovery that was “relevant as potential impeachment evidence”). That includes
communications about “copyright and artificial intelligence” with third parties, as sought by
RFP 24. Ex. A at 11. As explained supra p. 1, if such communications include concessions about
generative AI broadly—e.g., that generative AI technology is transformative or that it will yield
significant public benefits—that would undermine the Times’s contrary fair-use positions
regarding OpenAI’s generative AI services here.

        Relevant discovery in this vein also includes the Times’s knowledge about the training of
third-party generative AI tools using the Times’s works and the alleged reproduction of the
Times’s works by such tools, as sought by RFPs 4–6 and 16. Ex. A at 7–9. If the Times knew
about multiple third parties using the Times’s works to train generative AI tools but did nothing,
that would suggest recognition by the Times of the reasons such training is protected by fair use—
e.g., that no workable market exists for licensing the volume of data required; that it offers
sufficient public benefits; and that it stands to achieve purposes distinct from that of the underlying
works. See Texaco Inc., 60 F.3d at 930; Oracle, 593 U.S. at 35; Warhol, 598 U.S. at 528.

        Accordingly, the Times should be compelled to provide discovery on the very subject of
this lawsuit—generative AI—without narrowly limiting its production only to the materials that
concern OpenAI. OpenAI is entitled to test whether the Times’s statements and actions outside
this lawsuit are consistent with the positions the Times is taking in this case.


5
 See N.Y. Times, supra note 2; Fischer, supra note 3.

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                                      Respectfully,

KEKER, VAN NEST &                     LATHAM & WATKINS                      MORRISON &
PETERS LLP*                           LLP                                   FOERSTER LLP

/s/ Michelle S. Ybarra                /s/ Elana Nightingale Dawson          /s/ Vera Ranieri
Michelle S. Ybarra                    Elana Nightingale Dawson              Vera Ranieri




*
 All parties whose electronic signatures are included herein have consented to the filing of this
document.


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